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 1   DAVID A. TORRES AND ASSOCIATES
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     PARAMJIT SINGH MANGAT
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                    )   Case No.: 1:18-CR-00056 LJO-SKO
10   UNITED STATES OF AMERICA,                      )
                                                    )
11                  Plaintiff,                      )   REQUEST TO VACATE HEARING
                                                    )   REGARDING DEFENDANT’S REQUEST
12          vs.                                     )   FOR OUT OF DISTRICT TRAVEL
                                                    )
13   PARAMJIT SINGH MANGAT,                         )   Date: July 17, 2019
                                                    )   Time: 3:00p.m.
14                  Defendant                       )   Judge: Stanley Boone
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE STANLEY
16   BOONE AND HENRY CARBAJAL, ASSISTANT UNITED STATES ATTORNEY:
17          COMES NOW Defendant, PARAMJIT MANGAT, by and through his attorney of
18   record, DAVID A. TORRES hereby requests that defendant’s motion to allow out district travel
19   set for the above captioned date be vacated.
20                                                               Respectfully Submitted,
21   DATED: July 11, 2019                                        /s/ David A Torres        ___
22
                                                                 DAVID A. TORRES
                                                                 Attorney for Defendant
23                                                               Paramjit Mangat

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              Case 1:18-cr-00056-DAD-SKO Document 69 Filed 07/12/19 Page 2 of 2


 1                                                 ORDER
 2
              Defendant’s motion for out of district travel set for July 17, 2019 is hereby vacated.
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 4   IT IS SO ORDERED.

 5   Dated:     July 12, 2019
                                                         UNITED STATES MAGISTRATE JUDGE
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